              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                          SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                       Plaintiff,        )
                                         )
        vs.                              )      No. 13-05036-07-CR-SW-JFM
                                         )
JIMMY DON THOMPSON,                      )
                                         )
                       Defendant.        )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One and Twenty-eight of the

Indictment filed on July 24, 2013.       After cautioning and examining

the Defendant under oath concerning each of the subjects mentioned

in Rule 11, I determined that the guilty pleas were knowledgeable

and voluntary, and that the offenses charged are supported by a

factual basis for each of the essential elements of the offense.              I

therefore recommend that the pleas of guilty be accepted and that

the   Defendant   be   adjudged   guilty      and   have   sentence    imposed

accordingly.



Date:     September 26, 2013              /s/ David P. Rush
                                         DAVID P. RUSH
                                         UNITED STATES MAGISTRATE JUDGE




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                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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